
USCA1 Opinion

	













                                [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT



                                 ____________________


        No. 96-1622

                                    MEGAN BARKER,

                                Plaintiff, Appellant,

                                          v.

                           COMMISSIONER OF SOCIAL SECURITY,

                                 Defendant, Appellee.


                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF MAINE

                     [Hon. Morton A. Brody, U.S. District Judge]
                                            ___________________

                                 ____________________

                                        Before

                                Torruella, Chief Judge,
                                           ___________
                           Selya and Stahl, Circuit Judges.
                                            ______________

                                 ____________________

            David A. Chase and Macdonald &amp; Chase on brief for appellant.
            ______________     _________________
            Jay McCloskey, United  States Attorney, James M. Moore,  Assistant
            _____________                           ______________
        United  States  Attorney, and  Thomas  D.  Ramsey, Assistant  Regional
                                       __________________
        Counsel,  Region  I,  Social  Security Administration,  on  brief  for
        appellee.


                                 ____________________

                                   OCTOBER 09, 1996
                                   OCTOBER 09, 1996
                                 ____________________















                 Per  Curiam.  Claimant-appellant Megan Barker challenges
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            the denial  of disability benefits under  the Social Security

            Disability   Insurance   and  Supplemental   Security  Income

            programs.  We affirm.

                 In 1982, claimant  tripped on a concrete  stair and fell

            on her left knee while running with her company in the United

            States Army.  She suffered a contusion or laceration, and she

            was removed from  regular duty  for a short  period of  time.

            Barker  finished her  term  in the  military  and received  a

            regular discharge in 1984.  Thereafter, she worked at various

            jobs (mainly cashiering) until August 1992.

                 In 1993, claimant applied for disability benefits due to

            patellofemoral pain syndrome.  She complained of swelling and

            pain in  her left knee, especially  if she walks or  stands a

            lot.   She also complained that  her knee occasionally "locks

            up" or "gives out."   She stated that she has had pain in her

            knee since her injury  in 1982, but that the pain  has gotten

            worse.  She described  the pain as constant and  claimed that

            it is unrelieved by medication (Ibuprofen or Motrin).  

                 The Administrative  Law Judge (ALJ) found  that claimant

            has  patellofemoral  pain  syndrome,  but that  it  does  not

            significantly limit her ability to perform basic work-related

            functions.   Having  concluded that  Barker does  not have  a

            severe impairment,  the ALJ terminated the  review process at

            Step 2, or  the severity stage,  of the five-step  sequential



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            inquiry.  See Bowen v. Yuckert, 482 U.S. 137 (1987); McDonald
                      ___ _____    _______                       ________

            v. Secretary of  Health &amp;  Human Servs., 795  F.2d 1118  (1st
               ____________________________________

            Cir.  1986).    The decision  of  the  ALJ  became the  final

            decision  of the  Secretary when  the Appeals  Council denied

            review.    Claimant appealed  to  the  district court,  which

            referred  the matter  to  a magistrate  judge for  report and

            recommendation.  The  magistrate recommended affirmance,  and

            the  district judge adopted  the magistrate's recommendation.

            This appeal followed.

                 The medical  records submitted by the  claimant are from

            the Veterans Administration (VA).   These records reveal that

            claimant's  left knee was examined  on two occasions  by a VA

            physician  for  the purpose  of  determining  whether she  is

            eligible for a  VA disability  rating.  In  addition, the  VA

            Disability  Council  sent  claimant   to  see  Dr.  Pepe,  an

            orthopedic  consultant.   Dr. Pepe  examined claimant  on one

            occasion,   December  9,   1992.     Although   he  diagnosed

            patellofemoral pain  syndrome, Dr. Pepe's  objective findings

            are  almost entirely  negative.   On March  11, 1993,  the VA

            assigned claimant  a 30%  disability rating.   At that  time,

            objective  findings  were said  to  show  a small  amount  of

            effusion in the left knee, as well as some warmth and diffuse

            tenderness  in  the knee.    On  October 19,  1993,  claimant

            arrived at Dr. Pepe's office without an appointment and spoke

            to him briefly  in the hallway.  Following this conversation,



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            Dr.  Pepe wrote  a  short note  in  which he  stated:   "[The

            claimant]  says  she has  pain  in  her  legs that  precludes

            sitting or standing at  work.  Would recommend no  sitting or

            standing in order to help the pain."

                 As  an initial  matter, we  are persuaded  that the  ALJ

            could properly reject Dr.  Pepe's October 19, 1993 assessment

            essentially  for the reasons stated  by the magistrate in his

            recommended  decision.1   We  add that  there is  conflicting
                                  1

            medical  evidence  in  the  record.    None  of  the  medical

            consultants found any limitation in claimant's ability to sit

            or stand.2    Moreover, Dr.  Pepe's  note is  conclusory  and
                     2

            devoid  of objective  medical  findings.   See  20 C.F.R.    
                                                       ___

                                
            ____________________

               1The magistrate stated:
               1

                      Given that Dr. Pepe had last examined the
                      plaintiff   nearly   ten  months   before
                      writing the October [19], 1993 note, that
                      he  had  no advance  notice of  her visit
                      (and  thus no  opportunity to  review her
                      file), and that he  wrote the note at the
                      plaintiff's request and without examining
                      her  anew,  the Administrative  Law Judge
                      was entitled to disregard it . . . 

            Report and Recommended Decision at 5-6.

               2Dr. Johnson,  a  State agency  consultant,  reviewed  the
               2
            medical evidence and concluded that claimant does not have an
            impairment which  limits her  ability to perform  basic work-
            related  functions.    Dr.  Goffin,  a  second  State  agency
            consultant,   completed   a   Residual  Functional   Capacity
            Assessment  which  indicates   no  limitation  in  claimant's
            ability to sit  or stand.   Dr. Babcock,  a medical  advisor,
            testified at the administrative hearing that he had "a lot of
            trouble  placing much  credibility in  [Dr. Pepe's]  note" in
            light  of the  fact that  Dr. Pepe  did not  examine claimant
            before writing it.

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            404.1527(d)  (explaining how  the  Secretary  weighs  medical

            opinions),  416.927(d)  (same);  Matney  ex  rel.  Matney  v.
                                             ________________________

            Sullivan,  981 F.2d 1016, 1019 (9th Cir. 1992) ("The ALJ need
            ________

            not  accept  an  opinion  of  a  physician--even  a  treating

            physician--if it  is conclusory and brief  and is unsupported

            by clinical findings.").

                 We  also  think  the   ALJ  could  properly  reject  the

            credibility of claimant's statements concerning  the limiting

            effects of her pain and other symptoms.  See Irlando Ortiz v.
                                                     ___ _____________

            Secretary  of Health &amp; Human  Servs., 955 F.2d  765, 769 (1st
            ____________________________________

            Cir.  1991)   (per  curiam)   (explaining  that  it   is  the

            responsibility  of  the  Secretary  to  determine  issues  of

            credibility).   The VA treatment record is  quite sparse, and

            most  of   the  objective  medical  findings   are  negative.

            Claimant's allegations that her pain significantly limits her

            ability  to sit or stand is inconsistent with the opinions of

            the medical consultants.  In addition, the ALJ properly could

            find  that claimant's  allegations are inconsistent  with her

            reported activities.3  See  20 C.F.R.    404.1529 (explaining
                                3  ___

            how the Secretary evaluates pain), 416.929 (same). 



                                
            ____________________

               3Claimant  is  able to  do  housework (including  dusting,
               3
            vacuuming, laundry, and washing dishes) and, according to one
            of her reports, she is able to do grocery shopping.  She also
            drives  her  car, visits  friends, and  has taken  a computer
            training course.   Each of these  activities involves sitting
            or standing.   


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                 For  the foregoing  reasons, we  are persuaded  that the

            Secretary's  severity  finding  is  supported  by substantial

            evidence.  Accordingly, the judgment below is affirmed.
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